      Case 8:17-cv-00190-SDM-SPF Document 288 Filed 09/04/20 Page 1 of 35 PageID 12573
                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                           Sam M. Gibbons U.S. Courthouse
                                                 Office of the Clerk
                                              801 North Florida Avenue
                                                  Tampa, FL 33602
                                                   (813) 301-5400
                                               www.flmd.uscourts.gov
Elizabeth M. Warren                                                                                Keshia M. Jones
Clerk of Court                                                                              Tampa Division Manager

DATE: September 4, 2020

TO:     Clerk, U.S. Court of Appeals for the Eleventh Circuit

FINANCIAL INFORMATION TECHNOLOGIES, LLC,

        Plaintiff,

v.                                                                  Case No: 8:17-cv-190-T-23SPF

ICONTROL SYSTEMS, USA, LLC,

        Defendant.


U.S.C.A. Case No.:              UNKNOWN

Enclosed are documents and information relating to an appeal in the above-referenced action. Please
acknowledge receipt on the enclosed copy of this letter.

•       Honorable Steven D. Merryday, Chief United States District Judge appealed from.

•       Appeal filing fee was not paid. Upon filing a notice of appeal, the appellant must pay the district clerk
        all required fees. The district clerk receives the appellate docket fee on behalf of the court of appeals. If
        you are filing informa pauperis, a request for leave to appeal in forma pauperis needs to be filed with the
        district court.

•       Certified copy of Notice of Appeal, docket entries, judgment and/or Order appealed from. Opinion was
        not entered orally.

•       No hearing from which a transcript could be made.


                                                ELIZABETH M. WARREN, CLERK

                                                By:     s/CR, Deputy Clerk
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                                                                              APPEAL, CLOSED, SL DOC
                               U.S. District Court
                        Middle District of Florida (Tampa)
               CIVIL DOCKET FOR CASE #: 8:17−cv−00190−SDM−SPF

   Financial Information Technologies, LLC v. iControl Systems,   Date Filed: 01/24/2017
   USA, LLC                                                       Date Terminated: 03/05/2020
   Assigned to: Judge Steven D. Merryday                          Jury Demand: Defendant
   Referred to: Magistrate Judge Sean P. Flynn                    Nature of Suit: 790 Labor: Other
   Cause: 28:1331 Fed. Question: Breach of Contract               Jurisdiction: Federal Question
   Plaintiff
   Financial Information Technologies,             represented by Catherine H. Molloy
   LLC                                                            Greenberg Traurig, P.A.
                                                                  101 E Kennedy Blvd Ste 1900
                                                                  Tampa, FL 33602−5148
                                                                  813−318−5700
                                                                  Fax: 813−318−5900
                                                                  Email: molloyk@gtlaw.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                  Michael Darrell Johnson
                                                                  Taylor English Duma, LLP
                                                                  1600 Parkwood Cir Ste 400
                                                                  Atlanta, GA 30339−2119
                                                                  678−336−7294
                                                                  Fax: 770−434−7376
                                                                  Email: mjohnson@taylorenglish.com
                                                                  LEAD ATTORNEY
                                                                  PRO HAC VICE
                                                                  ATTORNEY TO BE NOTICED

                                                                  Richard C. McCrea , Jr.
                                                                  Greenberg Traurig, P.A.
                                                                  101 E Kennedy Blvd Ste 1900
                                                                  Tampa, FL 33602−5148
                                                                  813−318−5700
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                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                  William Bradley Hill , Jr.
                                                                  Polsinelli LLP
                                                                  1201 W Peachtree St NW Ste 1100
                                                                  Atlanta, GA 30309−3471
                                                                  404−253−6025
                                                                  TERMINATED: 11/16/2017
                                                                  LEAD ATTORNEY


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                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Tristan John Reiniers
                                                      Designs for Health, Inc.
                                                      14 Commerce Blvd.
                                                      Palm Coast, FL 32164−3126
                                                      860/623−6314
                                                      Email: treiniers@designsforhealth.com
                                                      ATTORNEY TO BE NOTICED


   V.
   Defendant
   iControl Systems, USA, LLC          represented by Jeffrey S. Bucholtz
                                                      King & Spalding, LLP
                                                      1700 Pennsylvania Ave., Suite 200
                                                      Washington, DC 20006−4706
                                                      202−626−2907
                                                      Fax: 202−626−3737
                                                      Email: jbucholtz@kslaw.com
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                                                      PRO HAC VICE
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                                                      Jonathan B. Sbar
                                                      Rocke, McLean & Sbar, PA
                                                      2309 S MacDill Ave
                                                      Tampa, FL 33629
                                                      813/769−5600
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                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

                                                      Paul Alessio Mezzina
                                                      King & Spaulding LLC
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                                                      Email: pmezzina@kslaw.com
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                                                      Robert L. Rocke
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                                                      2309 S MacDill Ave
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                                                                  Email: rrocke@rmslegal.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                  Andrea K. Holder
                                                                  Rocke, McLean & Sbar, PA
                                                                  2309 S MacDill Ave
                                                                  Tampa, FL 33629
                                                                  813−769−5600
                                                                  Email: aholder@rmslegal.com
                                                                  ATTORNEY TO BE NOTICED

   Mediator
   Peter J. Grilli                                represented by Peter John Grilli
                                                                 Peter J. Grilli, PA
                                                                 3001 W Azeele St
                                                                 Tampa, FL 33609−3138
                                                                 813/874−1002
                                                                 Fax: 813/874−1131
                                                                 Email: peter@grillimediation.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED


    Date Filed       #   Page Docket Text
    01/25/2017       1        COMPLAINT against iControl Systems, USA, LLC with Jury Demand (Filing
                              fee $ 400 receipt number TPA041438) filed by Financial Information
                              Technologies, Inc. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Civil Cover
                              Sheet)(RFK) Modified on 3/2/2020 (DG). Modified on 3/2/2020 (DG).
                              (Entered: 01/25/2017)
    01/27/2017       2        NOTICE of designation under Local Rule 3.05 − Track 2 (SKB) (Entered:
                              01/27/2017)
    01/27/2017       3        ORDER re: 2 notice of designation of track. See document for details.
                              Signed by Judge Steven D. Merryday on 1/27/2017. (SKB) (Entered:
                              01/27/2017)
    03/09/2017       4        NOTICE of pendency of related cases per Local Rule 1.04(d) by Financial
                              Information Technologies, Inc.. Related case(s): yes (Molloy, Catherine)
                              (Entered: 03/09/2017)
    03/10/2017       5        CERTIFICATE of interested persons and corporate disclosure statement by
                              Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                              03/10/2017)
    03/24/2017       6        ANSWER and affirmative defenses to 1 Complaint with Jury Demand by
                              iControl Systems, USA, LLC.(Sbar, Jonathan) (Entered: 03/24/2017)
    04/11/2017       7        CASE MANAGEMENT REPORT. (Molloy, Catherine) (Entered:
                              04/11/2017)



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    05/04/2017    8     CASE MANAGEMENT AND SCHEDULING ORDER: Pretrial
                        conference scheduled for 6/4/2018 at 9:30 AM in Tampa Courtroom 11B
                        before Magistrate Judge Mark A. Pizzo, jury trial scheduled for the July
                        2018 trial calendar in Tampa Courtroom 15A before Judge Steven D.
                        Merryday. Signed by Judge Steven D. Merryday on 5/4/2017. (SKB)
                        (Entered: 05/04/2017)
    05/08/2017    9     ORDER appointing Peter J. Grilli as mediator; designating Catherine H.
                        Molloy as lead counsel; setting 07/07/2017 as the mediation deadline;
                        directing counsel to file a notice within twenty days giving the date and
                        time of mediation. The notice of mediation is due by 05/29/2017. Signed by
                        Judge Steven D. Merryday on 5/8/2017. (SKB) (Entered: 05/08/2017)
    05/30/2017   10     NOTICE of mediation conference/hearing to be held on 6/27/17 @ 9:30 a.m.
                        before Peter J. Grilli. (McCrea, Richard) (Entered: 05/30/2017)
    06/27/2017   11     MEDIATION report Hearing held on June 27, 2017. Hearing outcome: The
                        parties have reached an impasse.. (Grilli, Peter) (Entered: 06/27/2017)
    06/30/2017   12     MOTION to Compel Production of Documents Reponsive to Second Request
                        for Production by Financial Information Technologies, Inc.. (Attachments: # 1
                        Exhibit A, # 2 Exhibit B)(McCrea, Richard) Motions referred to Magistrate
                        Judge Mark A. Pizzo. (Entered: 06/30/2017)
    07/06/2017   13     MOTION for miscellaneous relief, specifically To Remove "Attorneys' Eyes
                        Only" Designation From Independent Contractor Agreement by Financial
                        Information Technologies, Inc.. (Attachments: # 1 Exhibit A)(McCrea,
                        Richard) (Entered: 07/06/2017)
    07/14/2017   14     NOTICE of withdrawal of motion by Financial Information Technologies, Inc.
                        re 13 MOTION for miscellaneous relief, specifically To Remove "Attorneys'
                        Eyes Only" Designation From Independent Contractor Agreement filed by
                        Financial Information Technologies, Inc. (McCrea, Richard) (Entered:
                        07/14/2017)
    07/14/2017   15     RESPONSE in Opposition re 12 MOTION to Compel Production of
                        Documents Reponsive to Second Request for Production filed by iControl
                        Systems, USA, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                        C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Sbar, Jonathan) (Entered:
                        07/14/2017)
    07/18/2017   16     NOTICE of hearing on motion re 12 MOTION to Compel Production of
                        Documents Reponsive to Second Request for Production. Motion Hearing set
                        for 8/8/2017 at 10:00 AM in Tampa Courtroom 11 B before Magistrate Judge
                        Mark A. Pizzo. (ACS) (Entered: 07/18/2017)
    07/24/2017   17     MOTION for leave to file Reply Brief in Support of Motion to Compel (Dkt
                        12) by Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                        07/24/2017)
    07/25/2017   18     MEMORANDUM in opposition re 17 Motion for Leave to file document
                        Reply Brief filed by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                        07/25/2017)
    07/25/2017   19     ENDORSED ORDER granting 17 Plaintiff's motion for leave to file a
                        5−page reply. Plaintiff's reply is due by July 28, 2017. Signed by

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                        Magistrate Judge Mark A. Pizzo on 7/25/2017. (ACS) (Entered:
                        07/25/2017)
    07/28/2017   20     REPLY to Response to Motion re 12 MOTION to Compel Production of
                        Documents Reponsive to Second Request for Production filed by Financial
                        Information Technologies, Inc.. (McCrea, Richard) (Entered: 07/28/2017)
    08/08/2017   21     Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                        Discovery Hearing on Plaintiff's motion to compel held on 8/8/2017.. (digital)
                        (ACS) (Entered: 08/08/2017)
    08/08/2017   22     NOTICE of Appearance by Andrea K. Holder on behalf of iControl Systems,
                        USA, LLC (Holder, Andrea) (Entered: 08/08/2017)
    08/08/2017   23     ORDER granting in part and denying in part 12 Plaintiff's Motion to
                        Compel. See Order for details. Signed by Magistrate Judge Mark A. Pizzo
                        on 8/8/2017. (ACS) (Entered: 08/08/2017)
    09/07/2017   24     MOTION to withdraw reference to "Attorneys' Eyes Only" Designation from
                        Certain Documents by Financial Information Technologies, Inc..
                        (Attachments: # 1 Exhibit A)(McCrea, Richard) (Entered: 09/07/2017)
    09/21/2017   25     RESPONSE in Opposition re 24 MOTION to withdraw reference to
                        "Attorneys' Eyes Only" Designation from Certain Documents filed by iControl
                        Systems, USA, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Sbar,
                        Jonathan) (Entered: 09/21/2017)
    09/25/2017   26     ORDER denying 24 Plaintiff's Motion to Remove Attorneys' Eyes Only
                        Designation. See Order for details. Signed by Magistrate Judge Mark A.
                        Pizzo on 9/25/2017. (ACS) (Entered: 09/25/2017)
    10/19/2017   27     Joint MOTION for miscellaneous relief, specifically Entry of Confidentiality
                        Order by Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit
                        Stipulated Confidentiality Agreement and Protective Order)(McCrea, Richard)
                        (Entered: 10/19/2017)
    10/23/2017   28     MOTION for William B. Hill, Jr. to appear pro hac vice, Consent to
                        Designation and Request to Electronically Receive Notices of Electronic
                        Filings by Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit
                        A, # 2 Exhibit B, # 3 Exhibit C)(McCrea, Richard) Modified text on
                        10/23/2017 (AG). (Entered: 10/23/2017)
    10/23/2017   29     ORDER granting 27 joint motion for entry of confidentiality order,
                        subject to the restrictions included in the attached Order. Signed by
                        Magistrate Judge Mark A. Pizzo on 10/23/2017. (ACS) (Entered:
                        10/23/2017)
    10/23/2017          ***PRO HAC VICE FEES paid and Special Admission Attorney Certification
                        Form filed by attorney William B. Hill, Jr., appearing on behalf of Financial
                        Information Technologies, Inc. (Filing fee $150 receipt number TPA046593.)
                        Related document: 28 MOTION to William B. Hill, Jr. to Appear Pro Hac
                        Vice. (AG) (Entered: 10/23/2017)
    10/24/2017   30     ORDER granting 28 motion to appear pro hac vice. Signed by Magistrate
                        Judge Mark A. Pizzo on 10/24/2017. (ACS) (Entered: 10/24/2017)



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    11/06/2017   31     MOTION to Compel discovery by iControl Systems, USA, LLC.
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                        Exhibit E)(Sbar, Jonathan) Motions referred to Magistrate Judge Mark A.
                        Pizzo. (Entered: 11/06/2017)
    11/08/2017   32     MOTION for miscellaneous relief, specifically for Limited Appearance,
                        Consent to Designation and Request to Electronically Receive NOtices of
                        Electronic Filings by Financial Information Technologies, Inc.. (Attachments:
                        # 1 Exhibit A, # 2 Exhibit B)(McCrea, Richard) (Entered: 11/08/2017)
    11/08/2017          ***PRO HAC VICE FEES paid and Special Admission Attorney Certification
                        Form filed by attorney Michael D. Johnson, appearing on behalf of Financial
                        Information Technologies, Inc. (Filing fee $150 receipt number TPA046975)
                        Related document: 32 MOTION for miscellaneous relief, specifically for
                        Limited Appearance, Consent to Designation and Request to Electronically
                        Receive NOtices of Electronic Filings . (AG) (Entered: 11/08/2017)
    11/13/2017   33     Unopposed MOTION for miscellaneous relief, specifically for Leave
                        Allowing William B. Hill to Withdraw as Co−Counsel With Consent by
                        Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                        11/13/2017)
    11/14/2017   34     ORDER granting 32 Motion to appear pro hac vice. Signed by Magistrate
                        Judge Mark A. Pizzo on 11/14/2017. (CKR) (Entered: 11/14/2017)
    11/14/2017   35     ENDORSED ORDER granting 33 Unopposed Motion for Leave Allowing
                        William B. Hill, Jr. to Withdraw as Co−Counsel with Consent. Signed by
                        Magistrate Judge Mark A. Pizzo on 11/14/2017. (CKR) (Entered:
                        11/14/2017)
    11/20/2017   36     Unopposed MOTION for Extension of Time to File Response/Reply as to 31
                        MOTION to Compel discovery by Financial Information Technologies, Inc..
                        (Molloy, Catherine) Motions referred to Magistrate Judge Mark A. Pizzo.
                        (Entered: 11/20/2017)
    11/20/2017   37     ENDORSED ORDER granting 36 Unopposed Motion for Extension of
                        Time to file response re 31 MOTION to Compel discovery. Response due
                        by 11/30/2017. Signed by Magistrate Judge Mark A. Pizzo on 11/20/2017.
                        (CKR) (Entered: 11/20/2017)
    11/20/2017   38     NOTICE of compliance With CM/ECF Registration by Financial Information
                        Technologies, Inc. (Johnson, Michael) (Entered: 11/20/2017)
    11/30/2017   39     RESPONSE in Opposition re 31 MOTION to Compel discovery filed by
                        Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit 1, # 2
                        Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 5)(McCrea, Richard) (Entered:
                        11/30/2017)
    11/30/2017   40     Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                        Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                        11/30/2017)
    12/12/2017   41     ENDORSED ORDER granting 40 Plaintiff's Unopposed Motion to Seal.
                        Signed by Magistrate Judge Mark A. Pizzo on 12/12/2017. (CKR)
                        (Entered: 12/12/2017)


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    12/13/2017          Sealed Document [S−42]. (DG) (Entered: 12/13/2017)
    01/11/2018   43     PROOF of service by Financial Information Technologies, Inc. (Johnson,
                        Michael) (Entered: 01/11/2018)
    01/16/2018   44     MOTION to Strike Expert Rebuttal Reports by iControl Systems, USA, LLC.
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                        Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Sbar, Jonathan) Motions referred to
                        Magistrate Judge Mark A. Pizzo. (Entered: 01/16/2018)
    01/16/2018   45     Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                        iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 01/16/2018)
    01/23/2018   46     ORDER granting 45 Defendant's Unopposed Motion to Seal Pursuant to
                        Court Order. Signed by Magistrate Judge Mark A. Pizzo on 1/23/2018.
                        (CKR) (Entered: 01/23/2018)
    01/23/2018          Sealed Document [S−47]. (DG) (Entered: 01/23/2018)
    01/26/2018   48     MOTION for protective order Prohibiting Improper Questioning in
                        Deposition of Scott Riley by Financial Information Technologies, Inc..
                        (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
                        Exhibit E, # 6 Exhibit F)(McCrea, Richard) Motions referred to Magistrate
                        Judge Mark A. Pizzo. (Entered: 01/26/2018)
    01/30/2018   49     RESPONSE in Opposition re 44 MOTION to Strike Expert Rebuttal Reports
                        filed by Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit
                        A, # 2 Exhibit B, # 3 Exhibit C)(McCrea, Richard) (Entered: 01/30/2018)
    02/01/2018   50     MOTION for Leave to File Excess Pages by Financial Information
                        Technologies, Inc.. (McCrea, Richard) (Entered: 02/01/2018)
    02/01/2018   51     MOTION for leave to file supplement to motion to compel by iControl
                        Systems, USA, LLC. (Sbar, Jonathan) (Entered: 02/01/2018)
    02/05/2018   52     NOTICE of Appearance by Tristan John Reiniers on behalf of Financial
                        Information Technologies, Inc. (Reiniers, Tristan) (Entered: 02/05/2018)
    02/07/2018   53     ENDORSED ORDER granting 50 Motion for Leave to File Excess Pages.
                        Signed by Magistrate Judge Mark A. Pizzo on 2/7/2018. (CKR) (Entered:
                        02/07/2018)
    02/07/2018   54     ENDORSED ORDER granting 51 Motion for Leave to Supplement
                        Motion to Compel. Signed by Magistrate Judge Mark A. Pizzo on
                        2/7/2018. (CKR) (Entered: 02/07/2018)
    02/07/2018   55     MOTION to Compel Defendant to Repond Fully to Plaintiff's Fifth and Sixth
                        Requests for Production of Documents by Financial Information
                        Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                        # 4 Exhibit D, # 5 Exhibit E)(McCrea, Richard) Motions referred to Magistrate
                        Judge Mark A. Pizzo. (Entered: 02/07/2018)
    02/07/2018   56     MOTION for leave to file under seal Pursuant to Court Order by Financial
                        Information Technologies, Inc.. (McCrea, Richard) (Entered: 02/07/2018)
    02/07/2018   57     RESPONSE in Opposition re 48 MOTION for protective order Prohibiting
                        Improper Questioning in Deposition of Scott Riley filed by iControl Systems,


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                        USA, LLC. (Sbar, Jonathan) (Entered: 02/07/2018)
    02/12/2018   58     SUPPLEMENT re 31 MOTION to Compel discovery by iControl Systems,
                        USA, LLC. (Sbar, Jonathan) (Entered: 02/12/2018)
    02/13/2018   59     MOTION for leave to file to File a Brief Response to Defendant's Supplement
                        to Defendant's Motion to Compel by Financial Information Technologies, Inc..
                        (Molloy, Catherine) (Entered: 02/13/2018)
    02/15/2018   60     Unopposed MOTION for Extension of Time to File Response/Reply to
                        Plaintiff's Motion to Compel by iControl Systems, USA, LLC. (Holder,
                        Andrea) Motions referred to Magistrate Judge Mark A. Pizzo. (Entered:
                        02/15/2018)
    02/20/2018   61     ENDORSED ORDER granting 60 Defendant's Unopposed Motion for
                        Extension of Time to file a response re 55 MOTION to Compel Defendant
                        to Repond Fully to Plaintiff's Fifth and Sixth Requests for Production of
                        Documents. Response due by 2/28/2018. Signed by Magistrate Judge
                        Mark A. Pizzo on 2/20/2018. (CKR) (Entered: 02/20/2018)
    02/21/2018   62     NOTICE of hearing: re: 31 MOTION to Compel , 55 MOTION to Compel
                        Defendant to Repond Fully to Plaintiff's Fifth and Sixth Requests for
                        Production of Documents , 48 MOTION for Protective Order Prohibiting
                        Improper Questioning in Deposition of Scott Riley, 44 MOTION to Strike
                        Expert Rebuttal Reports. Discovery Hearing set for 3/7/2018 at 10:00 AM in
                        Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo. (CKR)
                        (Entered: 02/21/2018)
    02/21/2018   63     ENDORSED ORDER denying 59 Plaintiff's Motion for Leave to File a
                        Brief Response to Defendant's Supplement to Defendant's Motion to
                        Compel. Signed by Magistrate Judge Mark A. Pizzo on 2/21/2018. (CKR)
                        (Entered: 02/21/2018)
    02/21/2018   64     ENDORSED ORDER granting 56 Plaintiff's Unopposed Motion to Seal
                        Pursuant to Court Order. The Clerk is directed to file the documents
                        listed in the motion on a sealed docket for this case. Signed by Magistrate
                        Judge Mark A. Pizzo on 2/21/2018. (CKR) (Entered: 02/21/2018)
    02/21/2018          Sealed Document [S−65]. (DG) (Entered: 02/22/2018)
    02/23/2018   66     NOTICE OF RESCHEDULING HEARING: The discovery hearing
                        previously scheduled for 03/07/18 is rescheduled. New scheduling date and
                        time: Discovery Hearing set for 3/13/2018 at 10:00 AM in Tampa Courtroom
                        11 B before Magistrate Judge Mark A. Pizzo. (ACS) (Entered: 02/23/2018)
    02/28/2018   67     RESPONSE to Motion re 55 MOTION to Compel Defendant to Repond Fully
                        to Plaintiff's Fifth and Sixth Requests for Production of Documents
                        DEFENDANT'S RESPONSE TO PLAINTIFF'S MOTION TO COMPEL filed
                        by iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B,
                        # 3 Exhibit C)(Sbar, Jonathan) (Entered: 02/28/2018)
    03/01/2018   68     MOTION for summary judgment and Memorandum of Law in Support by
                        iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                        Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                        Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K)(Sbar, Jonathan)
                        (Entered: 03/01/2018)

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     03/01/2018   69     Unopposed MOTION for leave to file under seal DEFENDANT'S
                         UNOPPOSED MOTION TO SEAL PURSUANT TO COURT ORDER by
                         iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 03/01/2018)
     03/01/2018   70     APPENDIX (1) Flash Drive − Exhibit K re 68 MOTION for summary
                         judgment by iControl Systems, USA, LLC. Filed Separately. (BES) (Entered:
                         03/02/2018)
     03/12/2018   71     ENDORSED ORDER granting 69 Defendant's Unopposed Motion to Seal
                         Pursuant to Court Order. The Clerk is directed to file the documents
                         listed in the motion on a sealed docket for this case. Signed by Magistrate
                         Judge Mark A. Pizzo on 3/12/2018. (CKR) (Entered: 03/12/2018)
     03/12/2018          Sealed Document [S−72]. (DG) (Entered: 03/13/2018)
     03/13/2018   73     ORDER granting in part and denying as moot in part 31 Defendant's
                         Motion to Compel; granting in part and denying as moot in part 44
                         Defendant's Motion to Strike Expert Rebuttal Report; denying as moot 48
                         Plaintiff's Motion for Protective Order; and granting in part, denying in
                         part and denying as moot in part 55 Plaintiff's Motion to Compel. Signed
                         by Magistrate Judge Mark A. Pizzo on 3/13/2018. (CKR) (Entered:
                         03/13/2018)
     03/13/2018   74     Unopposed MOTION for Extension of Time to File Response/Reply as to 68
                         MOTION for summary judgment and Memorandum of Law in Support by
                         Financial Information Technologies, Inc.. (McCrea, Richard) Motions referred
                         to Magistrate Judge Mark A. Pizzo. (Entered: 03/13/2018)
     03/13/2018   75     Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         Discovery Hearing held on 3/13/2018.. (DIGITAL) (EJC) (Entered:
                         03/13/2018)
     03/14/2018   76     ENDORSED ORDER granting 74 Motion for Extension of Time to File
                         Response/Reply as to 68 MOTION for summary judgment and
                         Memorandum of Law in Support Responses due by 3/29/2018. Signed by
                         Magistrate Judge Mark A. Pizzo on 3/14/2018. (DK) (Entered: 03/14/2018)
     03/28/2018   77     MOTION for Leave to File Excess Pages by Financial Information
                         Technologies, Inc.. (McCrea, Richard) (Entered: 03/28/2018)
     03/29/2018   78     ENDORSED ORDER granting 77 Motion for Leave to File Excess Pages.
                         Signed by Magistrate Judge Mark A. Pizzo on 3/29/2018. (DK) (Entered:
                         03/29/2018)
     03/29/2018   79     MOTION for leave to file under seal Pursuamt to Court Order by Financial
                         Information Technologies, Inc.. (McCrea, Richard) (Entered: 03/29/2018)
     03/29/2018   80     MEMORANDUM in opposition re 68 Motion for summary judgment filed by
                         Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit R, # 2
                         Exhibit S, # 3 Exhibit T, # 4 Exhibit U, # 5 Exhibit V, # 6 Exhibit W − Part 1,
                         # 7 Exhibit W − Part 2, # 8 Exhibit X, # 9 Exhibit Y)(McCrea, Richard)
                         (Entered: 03/29/2018)
     03/29/2018   81     DEPOSITION of Joe Kwo taken on January 30, 2018 re 80 Memorandum in
                         opposition by Financial Information Technologies, Inc.. . (McCrea, Richard)
                         (Entered: 03/29/2018)


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     03/29/2018   82     DEPOSITION of Paul Byrum taken on July 19, 2016 re 80 Memorandum in
                         opposition by Financial Information Technologies, Inc.. . (McCrea, Richard)
                         (Entered: 03/29/2018)
     03/29/2018   83     DEPOSITION of Glenn W. Jones taken on December 15, 2016 re 80
                         Memorandum in opposition by Financial Information Technologies, Inc.. .
                         (Attachments: # 1 Exhibit 22)(McCrea, Richard) (Entered: 03/29/2018)
     03/29/2018   84     DEPOSITION of Chad Hardwick taken on July 18, 2016 re 80 Memorandum
                         in opposition by Financial Information Technologies, Inc.. . (McCrea,
                         Richard) (Entered: 03/29/2018)
     03/29/2018   85     DEPOSITION of Robert Noe taken on October 11, 2016 re 80 Memorandum
                         in opposition by Financial Information Technologies, Inc.. . (McCrea,
                         Richard) (Entered: 03/29/2018)
     03/29/2018   86     DEPOSITION of William H. Harris, III taken on June 10, 2016 re 80
                         Memorandum in opposition by Financial Information Technologies, Inc.. .
                         (McCrea, Richard) (Entered: 03/29/2018)
     03/29/2018   87     DEPOSITION of Charles S. Clark taken on June 29, 2017 re 80 Memorandum
                         in opposition by Financial Information Technologies, Inc.. . (McCrea,
                         Richard) (Entered: 03/29/2018)
     03/29/2018   88     DEPOSITION of Sam Malek taken on March 19, 2017 re 80 Memorandum in
                         opposition by Financial Information Technologies, Inc.. . (McCrea, Richard)
                         (Entered: 03/29/2018)
     04/03/2018   89     ENDORSED ORDER granting 79 Plaintiff's Unopposed Motion to Seal
                         Pursuant to Court Order. The Clerk is directed to file the documents
                         listed in the motion on a sealed docket for this case. Signed by Magistrate
                         Judge Mark A. Pizzo on 4/3/2018. (CKR) (Entered: 04/03/2018)
     04/03/2018          Sealed Document [S−90]. (DG) (Entered: 04/04/2018)
     04/20/2018   91     ORDER referring to Magistrate Judge Mark A. Pizzo for a report and
                         recommendation: 68−−iControl Systems' motion for summary judgment.
                         Signed by Judge Steven D. Merryday on 4/20/2018. (BK) Motions
                         referred to Magistrate Judge Mark A. Pizzo. (Entered: 04/20/2018)
     04/27/2018   92     MOTION for miscellaneous relief, specifically for Discovery Sanctions by
                         Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit F, # 2
                         Exhibit G, # 3 Exhibit H, # 4 Exhibit I)(McCrea, Richard) (Entered:
                         04/27/2018)
     04/27/2018   93     MOTION for leave to file under seal Pursuant to Court Order by Financial
                         Information Technologies, Inc.. (McCrea, Richard) (Entered: 04/27/2018)
     04/30/2018   94     MOTION for miscellaneous relief, specifically for Leave to Supplement
                         Summary Judgment Record by Financial Information Technologies, Inc..
                         (Reiniers, Tristan) (Entered: 04/30/2018)
     04/30/2018   95     Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                         Financial Information Technologies, Inc.. (Reiniers, Tristan) (Entered:
                         04/30/2018)
     05/01/2018   96

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                         RESPONSE in Opposition re 92 MOTION for miscellaneous relief,
                         specifically for Discovery Sanctions filed by iControl Systems, USA, LLC.
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                         D)(Sbar, Jonathan) (Entered: 05/01/2018)
     05/02/2018    97    Unopposed MOTION for leave to file under seal by iControl Systems, USA,
                         LLC. (Sbar, Jonathan) (Entered: 05/02/2018)
     05/02/2018    98    ENDORSED ORDER granting 93 Plaintiff's Unopposed Motion to Seal
                         Pursuant to Court Order. The Clerk is directed to file the documents
                         listed in the motion on a sealed docket for this case. Signed by Magistrate
                         Judge Mark A. Pizzo on 5/2/2018. (CKR) (Entered: 05/02/2018)
     05/02/2018    99    ENDORSED ORDER granting 95 Plaintiff's Unopposed Motion to Seal
                         Pursuant to Court Order. The Clerk is directed to file the document listed
                         in the motion on a sealed docket for this case. Signed by Magistrate Judge
                         Mark A. Pizzo on 5/2/2018. (CKR) (Entered: 05/02/2018)
     05/02/2018   100    ENDORSED ORDER granting 97 Defendant's Unopposed Motion to Seal
                         Pursuant to Court Order. The Clerk is directed to file the documents
                         listed in the motion on a sealed docket for this case. Signed by Magistrate
                         Judge Mark A. Pizzo on 5/2/2018. (CKR) (Entered: 05/02/2018)
     05/02/2018          Sealed Documents [S−101], [S−102] and [S−103]. (DG) (Entered:
                         05/03/2018)
     05/03/2018   104    MOTION for leave to file a Reply to iControl's Response to Plaintiff's Motion
                         for Discovery Sanctions by Financial Information Technologies, Inc..
                         (Reiniers, Tristan) (Entered: 05/03/2018)
     05/08/2018   105    MOTION for miscellaneous relief, specifically to Remove "Attorneys' Eyes
                         Only" Designation From Certain Documents by Financial Information
                         Technologies, Inc.. (Reiniers, Tristan) (Entered: 05/08/2018)
     05/08/2018   106    Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                         Financial Information Technologies, Inc.. (Reiniers, Tristan) (Entered:
                         05/08/2018)
     05/09/2018   107    RESPONSE in Opposition re 94 MOTION for miscellaneous relief,
                         specifically for Leave to Supplement Summary Judgment Record filed by
                         iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 05/09/2018)
     05/10/2018   108    MEMORANDUM in opposition re 104 Motion for Leave to file document
                         filed by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 05/10/2018)
     05/16/2018   109    ENDORSED ORDER granting 106 Plaintiff's Unopposed Motion to Seal
                         Pursuant to Court Order. The Clerk is directed to file the documents
                         listed in the motion on a sealed docket for this case. Signed by Magistrate
                         Judge Mark A. Pizzo on 5/16/2018. (CKR) (Entered: 05/16/2018)
     05/16/2018          Sealed Document [S−110]. (DG) (Entered: 05/16/2018)
     05/22/2018   111    RESPONSE in Opposition re 105 MOTION for miscellaneous relief,
                         specifically to Remove "Attorneys' Eyes Only" Designation From Certain
                         Documents filed by iControl Systems, USA, LLC. (Attachments: # 1 Exhibit
                         A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Sbar, Jonathan)


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                         (Entered: 05/22/2018)
     05/22/2018   112    Unopposed MOTION for leave to file under seal by iControl Systems, USA,
                         LLC. (Sbar, Jonathan) (Entered: 05/22/2018)
     05/23/2018   113    ENDORSED ORDER granting 112 Defendant's Unopposed Motion to
                         Seal. The Clerk is directed to file the documents listed in the motion on a
                         sealed docket for this case. Signed by Magistrate Judge Mark A. Pizzo on
                         5/23/2018. (ACS) (Entered: 05/23/2018)
     05/24/2018          Sealed Document [S−114]. (DG) (Entered: 05/24/2018)
     05/29/2018   115    PRETRIAL statement by Financial Information Technologies, Inc..
                         (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                         D)(Reiniers, Tristan) (Entered: 05/30/2018)
     05/30/2018   116    NOTICE by Financial Information Technologies, Inc. of Filing Inadvertently
                         Omitted Deposition Designations (Attachments: # 1 Exhibit Supplemental
                         Trial Deposition Designations)(Reiniers, Tristan) (Entered: 05/30/2018)
     06/01/2018   117    NOTICE canceling pretrial conference scheduled for June 4, 2018. The
                         pretrial conference will be rescheduled by separate notice for a date to be
                         determined. (ACS) (Entered: 06/01/2018)
     06/08/2018   118    MOTION for protective order Regarding the Production of Plaintiff's Source
                         Code by Financial Information Technologies, Inc.. (Molloy, Catherine)
                         Motions referred to Magistrate Judge Mark A. Pizzo. (Entered: 06/08/2018)
     06/08/2018   119    Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                         Financial Information Technologies, Inc.. (Reiniers, Tristan) (Entered:
                         06/08/2018)
     06/12/2018   120    ORDER denying 92 Plaintiff's Motion for Discovery Sanctions; denying
                         94 Plaintiff's Motion for Leave to Supplement Summary Judgment
                         Record; denying 104 Plaintiff's Motion for Leave to File a Reply; denying
                         without prejudice 105 Plaintiff's Motion to Remove "Attorneys' Eyes
                         Only" Designation from Certain Documents. Signed by Magistrate Judge
                         Mark A. Pizzo on 6/12/2018. (CKR) (Entered: 06/12/2018)
     06/12/2018   121    REPORT AND RECOMMENDATION re 68 Defendant's Motion for
                         Summary Judgment. Signed by Magistrate Judge Mark A. Pizzo on
                         6/12/2018. (CKR) (Entered: 06/12/2018)
     06/12/2018   122    NOTICE of hearing: Final Pretrial Conference set for 6/26/2018 at 10:00 AM
                         in Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo (CKR)
                         (Entered: 06/12/2018)
     06/14/2018   123    AMENDED NOTICE of hearing: Final Pretrial Conference set for 6/26/2018
                         is rescheduled for 6/28/2018 at 03:00 PM in Tampa Courtroom 11 B before
                         Magistrate Judge Mark A. Pizzo. (DK) (Entered: 06/14/2018)
     06/15/2018   124    MOTION to Strike Supplemental Expert Report by iControl Systems, USA,
                         LLC. (Sbar, Jonathan) Motions referred to Magistrate Judge Mark A. Pizzo.
                         (Entered: 06/15/2018)
     06/15/2018   125    RESPONSE in Opposition re 118 MOTION for protective order Regarding
                         the Production of Plaintiff's Source Code filed by iControl Systems, USA,

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                         LLC. (Attachments: # 1 Exhibit A)(Sbar, Jonathan) (Entered: 06/15/2018)
     06/18/2018   126    Unopposed MOTION for clarification re 121 REPORT AND
                         RECOMMENDATIONS re 68 MOTION for summary judgment and
                         Memorandum of Law in Support filed by iControl Systems, USA, LLC. to
                         Narrow Issues for Trial by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         (Entered: 06/18/2018)
     06/25/2018   127    TRANSCRIPT of Motion Hearing held on 03−13−18 before Judge Mark A.
                         Pizzo. Court Reporter/Transcriber Bill Jones,Telephone number
                         813−301−5024. Transcript may be viewed at the court public terminal or
                         purchased through the Court Reporter/Transcriber before the deadline for
                         Release of Transcript Restriction. After that date it may be obtained through
                         PACER or purchased through the Court Reporter. Redaction Request due
                         7/16/2018, Redacted Transcript Deadline set for 7/26/2018, Release of
                         Transcript Restriction set for 9/24/2018. (HWJ) (Entered: 06/25/2018)
     06/25/2018   128    NOTICE to counsel of filing of OFFICIAL TRANSCRIPT. The parties have
                         seven (7) calendar days to file with the court a Notice of Intent to Request
                         Redaction of this transcript. If no such Notice is filed, the transcript may be
                         made remotely electronically available to the public without redaction after 90
                         calendar days. Any party needing a copy of the transcript to review for
                         redaction purposes may purchase a copy from the court reporter or view the
                         document at the clerk's office public terminal. Court Reporter: Bill Jones.
                         (HWJ) (Entered: 06/25/2018)
     06/26/2018   129    OBJECTION re 121 REPORT AND RECOMMENDATIONS re 68 MOTION
                         for summary judgment and Memorandum of Law in Support filed by Financial
                         Information Technologies, LLC (Counsel called picked wrong party edited
                         text to correct party). . (Reiniers, Tristan) Modified on 6/27/2018 (BSN).
                         (Entered: 06/26/2018)
     06/26/2018   130    OBJECTION re 120 Order on Motion for Miscellaneous ReliefOrder on
                         Motion for Leave to File . (Reiniers, Tristan) (Entered: 06/26/2018)
     06/26/2018   131    Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                         Financial Information Technologies, Inc.. (Reiniers, Tristan) (Entered:
                         06/26/2018)
     06/27/2018   132    Unopposed MOTION in limine regarding Evidence of Insurance Coverage by
                         iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 06/27/2018)
     06/27/2018   133    MOTION in limine regarding Testimony of Ivan Zatkovich by iControl
                         Systems, USA, LLC. (Sbar, Jonathan) (Entered: 06/27/2018)
     06/27/2018   134    MOTION in limine regarding Evidence of Website Scraping by iControl
                         Systems, USA, LLC. (Sbar, Jonathan) (Entered: 06/27/2018)
     06/27/2018   135    MOTION in limine regarding Evidence of Summarily Dismissed Claims and
                         Punitive Damages by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         06/27/2018)
     06/27/2018   136    MOTION in limine regarding Evidence of Misappropriation from any Source
                         other than Mark Lopez by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         (Entered: 06/27/2018)


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     06/27/2018   137    MOTION in limine regarding Evidence of the Registration of Domain Names
                         by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 06/27/2018)
     06/27/2018   138    MOTION in limine regarding Evidence that Lopez Violated Fintech's
                         Employee Handbook by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         (Entered: 06/27/2018)
     06/27/2018   139    MOTION in limine regarding Evidence of Emails from or to Mark Lopez that
                         are the Subject of Ivan Zatkovich's Rebuttal Report by iControl Systems,
                         USA, LLC. (Sbar, Jonathan) (Entered: 06/27/2018)
     06/27/2018   140    MOTION in limine regarding Damages Claim Based on Gross Revenues and
                         Reasonable Royalties by iControl Systems, USA, LLC. (Attachments: # 1
                         Exhibit A)(Sbar, Jonathan) (Entered: 06/27/2018)
     06/27/2018   141    ENDORSED ORDER granting 119 Plaintiff's Unopposed Motion to Seal.
                         The Clerk is directed to file the documents listed in the motion on a sealed
                         docket for this case. Signed by Magistrate Judge Mark A. Pizzo on
                         6/27/2018. (CKR) (Entered: 06/27/2018)
     06/27/2018   142    ENDORSED ORDER granting 131 Plaintiff's Unopposed Motion to Seal.
                         The Clerk is directed to file the documents listed in the motion on a sealed
                         docket for this case. Signed by Magistrate Judge Mark A. Pizzo on
                         6/27/2018. (CKR) (Entered: 06/27/2018)
     06/27/2018   143    Proposed Jury Instructions by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         (Entered: 06/27/2018)
     06/27/2018   144    PROPOSED verdict form filed byiControl Systems, USA, LLC. (Sbar,
                         Jonathan) (Entered: 06/27/2018)
     06/27/2018          Sealed Documents [S−145] and [S−146]. (DG) (Entered: 06/27/2018)
     06/27/2018   147    STATEMENT of the case for trial by iControl Systems, USA, LLC. (Sbar,
                         Jonathan) (Entered: 06/27/2018)
     06/27/2018   148    MOTION in limine regarding to Exclude Evidence Regarding Plaintiff Not
                         Seeking a Preliminary Injunction by Financial Information Technologies, Inc..
                         (McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   149    MOTION in limine regarding Scott Riley's Compensation and What He
                         Received From The Sale of Fintech Stock to A Third Party by Financial
                         Information Technologies, Inc.. (McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   150    MOTION in limine regarding Alleged Comments Made By Scott Riley
                         During Mediation by Financial Information Technologies, Inc.. (McCrea,
                         Richard) (Entered: 06/27/2018)
     06/27/2018   151    MOTION in limine regarding Scott Riley's Alleged Use of Inapropriate
                         Language by Financial Information Technologies, Inc.. (McCrea, Richard)
                         (Entered: 06/27/2018)
     06/27/2018   152    MOTION in limine regarding Plaintiff's Motivation For Filing This Lawsuit
                         by Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                         06/27/2018)
     06/27/2018   153


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                         MOTION in limine regarding Dismissed Claims and Excluded Expert Report
                         by Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                         06/27/2018)
     06/27/2018   154    MOTION in limine to Exclude Evidence and Testimony regarding Plaintiff's
                         Lawsuits Against Lopez and Sanderson by Financial Information
                         Technologies, Inc.. (McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   155    MOTION in limine regarding Non−Compete Agreements by Financial
                         Information Technologies, Inc.. (McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   156    MOTION in limine to Exclude Evidence regarding Relative Size Or Wealth Of
                         The Parties by Financial Information Technologies, Inc.. (McCrea, Richard)
                         (Entered: 06/27/2018)
     06/27/2018   157    MOTION in limine regarding Patents, Copyrights, Or Trademarks by
                         Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit
                         1)(McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   158    MOTION in limine regarding Fintech's Dismissal Of Lawsuit Against Mark
                         Lopez by Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit
                         1)(McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   159    MOTION for leave to file to File Amended Joint Pretrial Statement by
                         Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2
                         Exhibit 1)(Reiniers, Tristan) (Entered: 06/27/2018)
     06/27/2018   160    TRIAL BRIEF by Financial Information Technologies, Inc.. (Reiniers,
                         Tristan) (Entered: 06/27/2018)
     06/27/2018   161    Proposed Jury Instructions by Financial Information Technologies, Inc..
                         (McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   162    PROPOSED verdict form filed byFinancial Information Technologies, Inc..
                         (McCrea, Richard) (Entered: 06/27/2018)
     06/27/2018   163    MOTION in limine to Exclude Evidence and Testimony regarding to Fintech's
                         Alleged False Statements and Unfair or Deceptive Business Practices by
                         Financial Information Technologies, Inc.. (McCrea, Richard) (Entered:
                         06/27/2018)
     06/27/2018   164    TRIAL BRIEF by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         06/27/2018)
     06/28/2018   165    MOTION for leave to file under seal in support of Defendant's Motion in
                         Limine Regarding Damages Claim Based on Gross Revenues and Reasonable
                         Royalties by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         06/28/2018)
     06/28/2018   166    MOTION in limine regarding iControl's Design Documents Produced After
                         the Discovery Deadline by Financial Information Technologies, Inc..
                         (Reiniers, Tristan) (Entered: 06/28/2018)
     06/28/2018   167    Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                         Financial Information Technologies, Inc.. (Reiniers, Tristan) (Entered:
                         06/28/2018)


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     06/28/2018   168    Unopposed MOTION for leave to file Second Amended Joint Pretrial
                         Statement by iControl Systems, USA, LLC. (Attachments: # 1 Exhibit
                         A)(Sbar, Jonathan) (Entered: 06/28/2018)
     06/28/2018   169    ENDORSED ORDER finding as moot 159 Motion for Leave to File
                         Amended Joint Pretrial Statement; granting 168 Motion for Leave to File
                         Second Amended Joint Pretrial Statement. Signed by Magistrate Judge
                         Mark A. Pizzo on 6/28/2018. (DK) (Entered: 06/28/2018)
     06/28/2018   170    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         FINAL PRETRIAL CONFERENCE held on 6/28/2018. (digital) (DK)
                         (Entered: 06/28/2018)
     06/28/2018   171    NOTICE of hearing: Status Conference set for 7/19/2018 at 10:00 AM in
                         Tampa Courtroom 11 B before Magistrate Judge Mark A. Pizzo (DK)
                         (Entered: 06/28/2018)
     06/28/2018   172    ORDER scheduling mediation. Mediation Conference set for 7/13/2018 at
                         09:30 AM before the undersigned. See attached Order for details. Signed
                         by Magistrate Judge Mark A. Pizzo on 6/28/2018. (ACS) (Entered:
                         06/28/2018)
     06/29/2018   173    ORDER: Consistent with my rulings at yesterday's pretrial conference,
                         Plaintiff's motion for protective order regarding the production of
                         Plaintiff's source code (doc. 118) is granted as stated in the attached
                         Order. Defendant's unopposed motion for clarification (doc. 126) is
                         denied. See attached Order for other case management directives. Signed
                         by Magistrate Judge Mark A. Pizzo on 6/29/2018. (ACS) (Entered:
                         06/29/2018)
     07/02/2018   174    ENDORSED ORDER granting 165 Defendant's Unopposed Motion to
                         Seal Pursuant to Court Order. The Clerk is directed to file the document
                         listed in the motion on a sealed docket for this case. Signed by Magistrate
                         Judge Mark A. Pizzo on 7/2/2018. (CKR) Modified on 7/2/2018 (DG).
                         (Entered: 07/02/2018)
     07/02/2018   175    ENDORSED ORDER granting 167 Plaintiff's Unopposed Motion to Seal.
                         The Clerk is directed to file the documents listed in the motion on a sealed
                         docket for this case. Signed by Magistrate Judge Mark A. Pizzo on
                         7/2/2018. (CKR) (Entered: 07/02/2018)
     07/02/2018          Sealed Document [S−176]. (DG) (Entered: 07/02/2018)
     07/02/2018          Sealed Document [S−177]. (DG) (Entered: 07/02/2018)
     07/10/2018   178    RESPONSE re 130 Objection to June 12, 2018 Order filed by iControl
                         Systems, USA, LLC. (Sbar, Jonathan) (Entered: 07/10/2018)
     07/10/2018   179    RESPONSE to objections to 121 Report and Recommendations on Summary
                         Judgment filed by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         07/10/2018)
     07/16/2018   180    Minute Entry. Proceedings held before Magistrate Judge Mark A. Pizzo:
                         MEDIATION held on 7/13/2018. (DIGITAL) (CKR) (Entered: 07/16/2018)
     07/18/2018   181


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                         NOTICE canceling status conference hearing scheduled for 07/19/2018.
                         (ACS) (Entered: 07/18/2018)
     07/18/2018   182    MEDIATION report Hearing held on 7/13/18. Hearing outcome: Impasse.
                         (EJC) (Entered: 07/18/2018)
     07/19/2018   183    MOTION for leave to file File a Reply to iControl's Response to Plaintiff's
                         Objections to June 12, 2018 Order by Financial Information Technologies,
                         Inc.. (Reiniers, Tristan) (Entered: 07/19/2018)
     07/23/2018   184    NOTICE of hearing: Status Conference set for 8/28/2018 at 10:00 AM in
                         Tampa Courtroom 11 B before the Magistrate Judge. (CKR) (Entered:
                         07/23/2018)
     07/26/2018   185    ORDER directing the parties to respond by 8/6/2018 to the motions in
                         limine; prohibiting the parties from moving further in limine. Signed by
                         Judge Steven D. Merryday on 7/26/2018. (BK) (Entered: 07/26/2018)
     07/31/2018   186    MEMORANDUM in opposition re 183 Motion for Leave to file document
                         filed by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 07/31/2018)
     08/01/2018   187    ENDORSED ORDER denying 183 the plaintiff's motion for leave to
                         reply. Signed by Judge Steven D. Merryday on 8/1/2018. (Entered:
                         08/01/2018)
     08/03/2018   188    Case Reassigned to Magistrate Judge Sean P. Flynn. New case number:
                         8:17−cv−190−T−23SPF. Magistrate Judge Mark A. Pizzo no longer assigned
                         to the case. (LSS) Motions referred to Magistrate Judge Sean P. Flynn.
                         (Entered: 08/03/2018)
     08/06/2018   189    STRICKEN. See Doc. 203. RESPONSE in Opposition re 148 MOTION in
                         limine regarding to Exclude Evidence Regarding Plaintiff Not Seeking a
                         Preliminary Injunction filed by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         Modified on 8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   190    STRICKEN. See Doc. 203. RESPONSE in Opposition re 149 MOTION in
                         limine regarding Scott Riley's Compensation and What He Received From
                         The Sale of Fintech Stock to A Third Party filed by iControl Systems, USA,
                         LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   191    STRICKEN. See Doc. 203. RESPONSE in Opposition re 150 MOTION in
                         limine regarding Alleged Comments Made By Scott Riley During Mediation
                         filed by iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A)(Sbar,
                         Jonathan) Modified on 8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   192    STRICKEN. See Doc. 203. RESPONSE in Opposition re 151 MOTION in
                         limine regarding Scott Riley's Alleged Use of Inapropriate Language filed by
                         iControl Systems, USA, LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK)
                         (Entered: 08/06/2018)
     08/06/2018   193    STRICKEN. See Doc. 203. RESPONSE in Opposition re 152 MOTION in
                         limine regarding Plaintiff's Motivation For Filing This Lawsuit filed by
                         iControl Systems, USA, LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK)
                         (Entered: 08/06/2018)
     08/06/2018   194


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                         STRICKEN. See Doc. 203. RESPONSE in Opposition re 153 MOTION in
                         limine regarding Dismissed Claims and Excluded Expert Report filed by
                         iControl Systems, USA, LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK)
                         (Entered: 08/06/2018)
     08/06/2018   195    STRICKEN. See Doc. 203. RESPONSE in Opposition re 154 MOTION in
                         limine to Exclude Evidence and Testimony regarding Plaintiff's Lawsuits
                         Against Lopez and Sanderson filed by iControl Systems, USA, LLC. (Sbar,
                         Jonathan) Modified on 8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   196    STRICKEN. See Doc. 203. RESPONSE in Opposition re 155 MOTION in
                         limine regarding Non−Compete Agreements filed by iControl Systems, USA,
                         LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   197    STRICKEN. See Doc. 203. RESPONSE in Opposition re 156 MOTION in
                         limine to Exclude Evidence regarding Relative Size Or Wealth Of The Parties
                         filed by iControl Systems, USA, LLC. (Sbar, Jonathan) Modified on
                         8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   198    STRICKEN. See Doc. 203. RESPONSE in Opposition re 157 MOTION in
                         limine regarding Patents, Copyrights, Or Trademarks filed by iControl
                         Systems, USA, LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK) (Entered:
                         08/06/2018)
     08/06/2018   199    STRICKEN. See Doc. 203. RESPONSE in Opposition re 158 MOTION in
                         limine regarding Fintech's Dismissal Of Lawsuit Against Mark Lopez filed by
                         iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A)(Sbar, Jonathan)
                         Modified on 8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   200    STRICKEN. See Doc. 203. RESPONSE in Opposition re 163 MOTION in
                         limine to Exclude Evidence and Testimony regarding to Fintech's Alleged
                         False Statements and Unfair or Deceptive Business Practices filed by iControl
                         Systems, USA, LLC. (Sbar, Jonathan) Modified on 8/14/2018 (BK) (Entered:
                         08/06/2018)
     08/06/2018   201    STRICKEN. See Doc. 203. RESPONSE in Opposition re 166 MOTION in
                         limine regarding iControl's Design Documents Produced After the Discovery
                         Deadline filed by iControl Systems, USA, LLC. (Sbar, Jonathan) Modified on
                         8/14/2018 (BK) (Entered: 08/06/2018)
     08/06/2018   202    RESPONSE in Opposition re 135 MOTION in limine regarding Evidence of
                         Summarily Dismissed Claims and Punitive Damages, 140 MOTION in limine
                         regarding Damages Claim Based on Gross Revenues and Reasonable
                         Royalties, 138 MOTION in limine regarding Evidence that Lopez Violated
                         Fintech's Employee Handbook, 137 MOTION in limine regarding Evidence of
                         the Registration of Domain Names, 139 MOTION in limine regarding
                         Evidence of Emails from or to Mark Lopez that are the Subject of Ivan
                         Zatkovich's Rebuttal Report, 132 Unopposed MOTION in limine regarding
                         Evidence of Insurance Coverage, 133 MOTION in limine regarding
                         Testimony of Ivan Zatkovich, 136 MOTION in limine regarding Evidence of
                         Misappropriation from any Source other than Mark Lopez, 134 MOTION in
                         limine regarding Evidence of Website Scraping filed by Financial Information
                         Technologies, Inc.. (Attachments: # 1 Exhibit 01/23/2018 Zatkovich Depo
                         Excerpt)(Reiniers, Tristan) (Entered: 08/06/2018)


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     08/08/2018          Set/reset hearings: Status Conference set for 8/28/2018 at 10:00 AM in Tampa
                         Courtroom 11 B before Magistrate Judge Sean P. Flynn. (EJC) (Entered:
                         08/08/2018)
     08/14/2018   203    ORDER striking 189, 190, 191, 192, 193, 194, 195, 196, 197, 198, 199, 200,
                         and 201; defendant's response of no more than forty pages to the
                         plaintiff's motions in limine due 8/20/2018. Signed by Judge Steven D.
                         Merryday on 8/14/2018. (BK) (Entered: 08/14/2018)
     08/17/2018   204    NOTICE canceling status conference scheduled for 8/28/2018. (NCR)
                         (Entered: 08/17/2018)
     08/20/2018   205    RESPONSE in Opposition re 155 MOTION in limine regarding
                         Non−Compete Agreements, 156 MOTION in limine to Exclude Evidence
                         regarding Relative Size Or Wealth Of The Parties, 153 MOTION in limine
                         regarding Dismissed Claims and Excluded Expert Report, 148 MOTION in
                         limine regarding to Exclude Evidence Regarding Plaintiff Not Seeking a
                         Preliminary Injunction, 152 MOTION in limine regarding Plaintiff's
                         Motivation For Filing This Lawsuit, 154 MOTION in limine to Exclude
                         Evidence and Testimony regarding Plaintiff's Lawsuits Against Lopez and
                         Sanderson, 158 MOTION in limine regarding Fintech's Dismissal Of Lawsuit
                         Against Mark Lopez, 150 MOTION in limine regarding Alleged Comments
                         Made By Scott Riley During Mediation, 151 MOTION in limine regarding
                         Scott Riley's Alleged Use of Inapropriate Language, 149 MOTION in limine
                         regarding Scott Riley's Compensation and What He Received From The Sale
                         of Fintech Stock to A Third Party, 163 MOTION in limine to Exclude
                         Evidence and Testimony regarding to Fintech's Alleged False Statements and
                         Unfair or Deceptive Business Practices, 157 MOTION in limine regarding
                         Patents, Copyrights, Or Trademarks, 166 MOTION in limine regarding
                         iControl's Design Documents Produced After the Discovery Deadline filed by
                         iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit
                         B)(Sbar, Jonathan) (Entered: 08/20/2018)
     09/07/2018   206    ORDER directing Plaintiff to file response to Defendant's Motion to
                         Strike Supplement Expert Report [Doc. 124] by no later than September
                         17, 2018. See Order for further details. Signed by Magistrate Judge Sean
                         P. Flynn on 9/7/2018. (NCR) (Entered: 09/07/2018)
     09/17/2018   207    RESPONSE to Motion re 124 MOTION to Strike Supplemental Expert Report
                         filed by Financial Information Technologies, Inc.. (Attachments: # 1 Exhibit
                         A)(McCrea, Richard) (Entered: 09/17/2018)
     09/17/2018   208    Unopposed MOTION for leave to file under seal Pursuant to Court Order by
                         Financial Information Technologies, Inc.. (Reiniers, Tristan) (Entered:
                         09/17/2018)
     09/18/2018   209    ENDORSED ORDER granting 208 Motion to file under seal by Financial
                         Information Technologies, Inc. Signed by Magistrate Judge Sean P. Flynn
                         on 9/18/2018. (NCR) (Entered: 09/18/2018)
     09/21/2018          Sealed Document [S−210]. (DG) (Entered: 09/24/2018)
     10/03/2018   211    ORDER overruling 129−−objections; adopting 121−−REPORT AND
                         RECOMMENDATIONS; granting in part and denying in part
                         68−−motion for summary judgment. Signed by Judge Steven D.


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                         Merryday on 10/3/2018. (BK) (Entered: 10/03/2018)
     03/18/2019   212    ORDER denying 124−−motion to strike; ruling deferred until trial: 132,
                         133, 134, 135, 136, 137, 138, 139, 140, 148, 149, 150, 151, 152, 153, 154,
                         155, 156, 157, 158, 163, and 166; joint status report due 4/25/2019. Signed
                         by Judge Steven D. Merryday on 3/18/2019. (BK) Modified on 3/18/2019
                         (BK) (Entered: 03/18/2019)
     04/25/2019   213    STATUS report by Financial Information Technologies, Inc.. (Molloy,
                         Catherine) (Entered: 04/25/2019)
     09/26/2019   214    Joint MOTION for miscellaneous relief, specifically for status conference by
                         Financial Information Technologies, Inc.. (Molloy, Catherine) (Entered:
                         09/26/2019)
     12/02/2019   215    Joint MOTION for miscellaneous relief, specifically to set trial by iControl
                         Systems, USA, LLC. (Sbar, Jonathan) (Entered: 12/02/2019)
     12/11/2019   216    ORDER granting 215−−motion for a trial date certain; scheduling the
                         trial for 1:30 p.m. on February 24, 2020 in Courtroom 15A; denying as
                         moot 214−−motion for a status conference. Signed by Judge Steven D.
                         Merryday on 12/11/2019. (BK) (Entered: 12/11/2019)
     01/16/2020   217    TRIAL CALENDAR for February 2020 trial term. Signed by Judge
                         Steven D. Merryday on 1/16/2020. (GSO) (Entered: 01/16/2020)
     01/27/2020   218    TRIAL BRIEF by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         01/27/2020)
     01/27/2020   219    STATEMENT of the case for trial by iControl Systems, USA, LLC. (Sbar,
                         Jonathan) (Entered: 01/27/2020)
     01/27/2020   220    Proposed Jury Instructions by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         (Entered: 01/27/2020)
     01/27/2020   221    PROPOSED verdict form filed byiControl Systems, USA, LLC. (Sbar,
                         Jonathan) (Entered: 01/27/2020)
     01/27/2020   222    Proposed Voir Dire by iControl Systems, USA, LLC. (Sbar, Jonathan)
                         (Entered: 01/27/2020)
     01/27/2020   223    Proposed Voir Dire by Financial Information Technologies, LLC. (McCrea,
                         Richard) (Entered: 01/27/2020)
     02/12/2020   224    Unopposed MOTION to allow electronic equipment, specifically Trial
                         Computer Equipment for testing and use at trial by iControl Systems, USA,
                         LLC. (Sbar, Jonathan) (Entered: 02/12/2020)
     02/12/2020   225    ORDER granting−in−part 224−−defendant's motion to permit electronic
                         equipment into the courthouse. Signed by Judge Steven D. Merryday on
                         2/12/2020. (BK) (Entered: 02/12/2020)
     02/21/2020   226    MOTION for Miscellaneous Relief, specifically for Permission to Bring
                         Cellular Phones Into the U.S. Courthouse for Use at Trial and Provide Access
                         to Wireless Internet by Financial Information Technologies, LLC. (McCrea,
                         Richard) (Entered: 02/21/2020)



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     02/21/2020   227    NOTICE of withdrawal of motion by Financial Information Technologies,
                         LLC (McCrea, Richard) (Entered: 02/21/2020)
     02/21/2020   228    Amended MOTION for Miscellaneous Relief, specifically for Permission to
                         Bring Cellular Phones Into the U.S. Courthouse for Use at Trial and Provide
                         Access to Wireless Internet by Financial Information Technologies, LLC.
                         (McCrea, Richard) (Entered: 02/21/2020)
     02/21/2020   229    ORDER granting in part 228−−plaintiff's motion for leave to bring
                         electronic equipment into the courthouse. Signed by Judge Steven D.
                         Merryday on 2/21/2020. (BK) (Entered: 02/21/2020)
     02/23/2020   230    MOTION for Miscellaneous Relief, specifically for Permission to Bring Two
                         Laptops and Related Equipment into the U.S. Courthouse for Use at Trial and
                         Provide Access to Wireless Internet by Financial Information Technologies,
                         LLC. (Attachments: # 1 Exhibit Order dated 10/1/13)(McCrea, Richard)
                         (Entered: 02/23/2020)
     02/24/2020   231    ORDER granting 230−−plaintiff's motion to bring electronic equipment
                         into the courthouse. Signed by Judge Steven D. Merryday on 2/24/2020.
                         (BK) Modified on 2/24/2020 to attach correct order(BK) (Entered:
                         02/24/2020)
     02/24/2020   232    ORDER ruling on motions in limine: 132, 133, 134, 135, 136, 137, 138,
                         139, 140, 148, 149, 150, 151, 152, 153, 154, 155, 156, 157, 158, 163, and 166.
                         See order for details. Signed by Judge Steven D. Merryday on 2/24/2020.
                         (BK) (Entered: 02/24/2020)
     02/24/2020   233    Witness List by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         02/24/2020)
     02/24/2020   234    Exhibit List by iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered:
                         02/24/2020)
     02/24/2020   235    Witness List by Financial Information Technologies, LLC. (McCrea, Richard)
                         (Entered: 02/24/2020)
     02/24/2020   236    Exhibit List by Financial Information Technologies, LLC. (McCrea, Richard)
                         (Entered: 02/24/2020)
     02/24/2020          Sealed Document [S−237]. (GSO) (Entered: 02/24/2020)
     02/24/2020   238    MINUTE ENTRY for 2/24/2020 jury selection before Judge Steven D.
                         Merryday. Court Reporter: Bill Jones (GSO) (Entered: 02/25/2020)
     02/25/2020   239    MINUTE ENTRY for 2/25/2020 day two of jury trial before Judge Steven D.
                         Merryday. Court Reporter: Bill Jones (GSO) (Entered: 02/25/2020)
     02/26/2020   240    MINUTE ENTRY for 2/26/2020 day three of jury trial before Judge Steven D.
                         Merryday. Court Reporter: Bill Jones (GSO) (Entered: 02/26/2020)
     02/27/2020   241    MINUTE ENTRY for 2/27/2020 day four of jury trial before Judge Steven D.
                         Merryday. Court Reporter: Bill Jones (GSO) (Entered: 02/27/2020)
     02/28/2020   242    MINUTE ENTRY for 2/28/2020 day five of jury trial before Judge Steven D.
                         Merryday. Court Reporter: Bill Jones (GSO) (Entered: 02/28/2020)



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     03/02/2020   243    MINUTE ENTRY for 3/2/2020 day six of jury trial before Judge Steven D.
                         Merryday. Court Reporter: Bill Jones (GSO) (Entered: 03/02/2020)
     03/03/2020   244    Jury Instructions. (GSO) (Entered: 03/03/2020)
     03/03/2020   245    JURY VERDICT. (GSO) (Entered: 03/03/2020)
     03/03/2020   246    COURT'S EXHIBIT LIST from jury trial. (Attachments: # 1 Exhibit One, # 2
                         Exhibit Two)(GSO) (Entered: 03/03/2020)
     03/04/2020   247    Plaintiff's exhibit list and exhibits filed by Financial Information
                         Technologies, LLC during jury trial. (Attachments: # 1 Exhibit 5, # 2 Exhibit
                         6, # 3 Exhibit 7, # 4 Exhibit 8, # 5 Exhibit 9, # 6 Exhibit 10, # 7 Exhibit 11, #
                         8 Exhibit 12, # 9 Exhibit 32, # 10 Exhibit 43, # 11 Exhibit 51, # 12 Exhibit 54,
                         # 13 Exhibit 57, # 14 Exhibit 58, # 15 Exhibit 65, # 16 Exhibit 66, # 17
                         Exhibit 69, # 18 Exhibit 70, # 19 Exhibit 73, # 20 Exhibit 74, # 21 Exhibit 75,
                         # 22 Exhibit 76, # 23 Exhibit 77, # 24 Exhibit 79, # 25 Exhibit 80, # 26
                         Exhibit 88, # 27 Exhibit 91, # 28 Exhibit 94A, # 29 Exhibit 94F, # 30 Exhibit
                         94H, # 31 Exhibit 94J, # 32 Exhibit 94K, # 33 Exhibit 98, # 34 Exhibit 102, #
                         35 Exhibit 118, # 36 Exhibit 120, # 37 Exhibit 121, # 38 Exhibit 122, # 39
                         Exhibit 123)(GSO) (Additional attachment(s) added on 3/4/2020: # 40 Exhibit
                         124, # 41 Exhibit 125, # 42 Exhibit 126, # 43 Exhibit 127, # 44 Exhibit 128, #
                         45 Exhibit 129, # 46 Exhibit 131, # 47 Exhibit 132, # 48 Exhibit 137
                         (redacted), # 49 Exhibit 138 (redacted), # 50 Exhibit 140, # 51 Exhibit 142, #
                         52 Exhibit 144, # 53 Exhibit 145, # 54 Exhibit 147, # 55 Exhibit 148, # 56
                         Exhibit 149, # 57 Exhibit 162, # 58 Exhibit 166, # 59 Exhibit 192, # 60
                         Exhibit 209, # 61 Exhibit 212, # 62 Exhibit 249, # 63 Exhibit 250, # 64
                         Exhibit 296, # 65 Exhibit 304, # 66 Exhibit 305, # 67 Exhibit 323, # 68
                         Exhibit 333, # 69 Exhibit 347 (part one), # 70 Exhibit 347 (part two), # 71
                         Exhibit 475, # 72 Exhibit 476, # 73 Exhibit 478, # 74 Exhibit 523) (GSO).
                         (Entered: 03/04/2020)
     03/04/2020   248    Defendant's exhibit list and exhibits admitted by iControl Systems, USA, LLC
                         during jury trial. (Attachments: # 1 Exhibit 26, # 2 Exhibit 37, # 3 Exhibit 44,
                         # 4 Exhibit 52, # 5 Exhibit 54, # 6 Exhibit 55, # 7 Exhibit 62, # 8 Exhibit 66, #
                         9 Exhibit 67, # 10 Exhibit 96, # 11 Exhibit 101, # 12 Exhibit 125, # 13 Exhibit
                         126, # 14 Exhibit 127, # 15 Exhibit 128, # 16 Exhibit 130, # 17 Exhibit 131, #
                         18 Exhibit 132, # 19 Exhibit 133, # 20 Exhibit 139, # 21 Exhibit 140, # 22
                         Exhibit 149, # 23 Exhibit 163, # 24 Exhibit 164, # 25 Exhibit 172, # 26
                         Exhibit 176, # 27 Exhibit 177, # 28 Exhibit 179, # 29 Exhibit 180, # 30
                         Exhibit 181, # 31 Exhibit 190, # 32 Exhibit 192, # 33 Exhibit 193, # 34
                         Exhibit 208, # 35 Exhibit 213, # 36 Exhibit 238, # 37 Exhibit 255B) (exhibit
                         254 is a video file on a flash drive and is located in the clerk's office) (GSO)
                         (Entered: 03/04/2020)
     03/05/2020   249    MOTION for Permanent Injunction by Financial Information Technologies,
                         LLC. (Attachments: # 1 Text of Proposed Order Ex. A)(McCrea, Richard)
                         (Entered: 03/05/2020)
     03/05/2020   250    ORDER re 245−−jury verdict, and 211−−order re summary judgment:
                         directing the clerk to ENTER JUDGMENT as directed in this order;
                         retaining jurisdiction to resolve a motion for permanent injunction;
                         permitting either party to move within fourteen days after entry of the
                         judgment to tax costs or to move for attorney's fees; directing the clerk to


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                            CLOSE the case. Signed by Judge Steven D. Merryday on 3/5/2020. (BK)
                            (Entered: 03/05/2020)
     03/05/2020   251   27 JUDGMENT (1) on Count II in favor of Financial Information Technologies,
                           LLC and against iControl Systems, USA, LLC for $5,700,000.00, comprising
                           $2,700,000.00 in actual damages and $3,000,000.00 in exemplary damages,
                           (2) on Counts III, VI, VII, and VIII for iControl Systems, USA, LLC and
                           against Financial Information Technologies, LLC, and (3) in accord with the
                           parties' stipulation announced on the first day of trial, dismissing Counts I, IV
                           and V. ( Signed by Deputy Clerk) (DG) (Entered: 03/05/2020)
     03/17/2020   252       RESPONSE in Opposition re 249 MOTION for Permanent Injunction filed by
                            iControl Systems, USA, LLC. (Sbar, Jonathan) (Entered: 03/17/2020)
     03/18/2020   253       PROPOSED BILL OF COSTS by Financial Information Technologies, LLC.
                            (Attachments: # 1 Affidavit Affidavit of Richard C. McCrea Jr, # 2 Exhibit Ex
                            A to Affidavit of R McCrea, # 3 Exhibit Ex B to Affidavit of R McCrea, # 4
                            Exhibit Ex C to Affidavit of R McCrea, # 5 Exhibit Ex D1 to Affidavit of R
                            McCrea, # 6 Exhibit Ex D2 to Affidavit of R McCrea, # 7 Exhibit Ex D3 to
                            Affidavit of R McCrea, # 8 Exhibit Ex E to Affidavit of R McCrea, # 9
                            Exhibit Ex F to Affidavit of R McCrea)(McCrea, Richard) (Entered:
                            03/18/2020)
     03/18/2020   254       PROPOSED BILL OF COSTS by iControl Systems, USA, LLC.
                            (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                            Exhibit 5, # 6 Exhibit 6)(Sbar, Jonathan) (Entered: 03/18/2020)
     03/19/2020   255       MOTION for Attorney Fees and Expenses by iControl Systems, USA, LLC.
                            (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit)(Sbar, Jonathan) (Entered:
                            03/19/2020)
     03/19/2020   256       MOTION for Attorney Fees by Financial Information Technologies, LLC.
                            (Attachments: # 1 Exhibit A − Fintech v. Sanderson Complaint, # 2 Exhibit B
                            − Fintech v. Lopez Amended Complaint, # 3 Exhibit C − Declaration of K.
                            Molloy, # 4 Exhibit D − Declaration of R. Fee)(Molloy, Catherine) (Entered:
                            03/19/2020)
     03/19/2020   257       MOTION to Seal Pursuant to Court Order by Financial Information
                            Technologies, LLC. (Molloy, Catherine) Motions referred to Magistrate Judge
                            Sean P. Flynn. (Entered: 03/19/2020)
     03/28/2020   258       Unopposed MOTION for Jeffrey S. Bucholtz and Paul A. Mezzina to appear
                            pro hac vice by iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A, #
                            2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Sbar, Jonathan) Motions referred to
                            Magistrate Judge Sean P. Flynn. (Entered: 03/28/2020)
     03/30/2020   259       ENDORSED ORDER denying with leave to refile 258 Unopposed Motion
                            for Admission Pro Hac Vice for failure to comply with Local Rule 2.02(a),
                            which requires that the non−resident attorney be a member in good
                            standing of the bar of any District Court of the United States, outside the
                            State of Florida. Signed by Magistrate Judge Sean P. Flynn on 3/30/20.
                            (CKR) (Entered: 03/30/2020)
     03/30/2020   260       APPLICATION for Stay of Execution by iControl Systems, USA, LLC.
                            (Attachments: # 1 Exhibit A)(Sbar, Jonathan) (Entered: 03/30/2020)


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     03/30/2020   261    Unopposed MOTION to Seal Pursuant to Court Order by iControl Systems,
                         USA, LLC. (Sbar, Jonathan) Motions referred to Magistrate Judge Sean P.
                         Flynn. (Entered: 03/30/2020)
     03/31/2020   262    Amended MOTION for Jeffrey S. Bucholtz and Paul Alessio Mezzina to
                         appear pro hac vice by iControl Systems, USA, LLC. (Attachments: # 1
                         Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Sbar, Jonathan)
                         Motions referred to Magistrate Judge Sean P. Flynn. (Entered: 03/31/2020)
     03/31/2020   263    ENDORSED ORDER granting 262 Unopposed Amended Motion for
                         Admission Pro Hac Vice. Attorneys Jeffrey S. Bucholtz and Paul Alessio
                         may appear pro hac vice on behalf of Defendant, with Attorney Jonathan
                         B. Sbar designated as local counsel pursuant to Local Rule 2.02(a). Within
                         twenty−one (21) days of the date of this Order, counsel shall comply with
                         the fee and electronic filing requirements and file a notice of compliance
                         with said requirements. Signed by Magistrate Judge Sean P. Flynn on
                         3/31/2020. (CKR) (Entered: 03/31/2020)
     04/01/2020          ***PRO HAC VICE FEES paid by attorney Jeffery S. Bucholtz, appearing on
                         behalf of iControl Systems, USA, LLC (Filing fee $150 receipt number
                         TPA060587.) Related document: 262 Amended MOTION for Jeffrey S.
                         Bucholtz and Paul Alessio Mezzina to appear pro hac vice . (JLD) (Entered:
                         04/01/2020)
     04/01/2020          ***PRO HAC VICE FEES paid by attorney Paul Alessio Mezzina, appearing
                         on behalf of iControl Systems, USA, LLC (Filing fee $150 receipt number
                         TPA060587.) Related document: 262 Amended MOTION for Jeffrey S.
                         Bucholtz and Paul Alessio Mezzina to appear pro hac vice . (JLD) (Entered:
                         04/01/2020)
     04/01/2020   264    OBJECTION re 253 Bill of costs − proposed . (Sbar, Jonathan) (Entered:
                         04/01/2020)
     04/01/2020   265    OBJECTION re 254 Bill of costs − proposed . (Attachments: # 1 Exhibit A −
                         Tucker Greene Deposition (Non−confidential Portion))(McCrea, Richard)
                         (Entered: 04/01/2020)
     04/01/2020   266    Unopposed MOTION to Seal Pursuant to Court Order by Financial
                         Information Technologies, LLC. (McCrea, Richard) Motions referred to
                         Magistrate Judge Sean P. Flynn. (Entered: 04/01/2020)
     04/02/2020   267    RESPONSE in Opposition re 256 MOTION for Attorney Fees filed by
                         iControl Systems, USA, LLC. (Attachments: # 1 Exhibit A)(Sbar, Jonathan)
                         (Entered: 04/02/2020)
     04/02/2020   268    RESPONSE to Motion re 255 MOTION for Attorney Fees and Expenses filed
                         by Financial Information Technologies, LLC. (Attachments: # 1 Exhibit A, # 2
                         Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(McCrea, Richard)
                         (Entered: 04/02/2020)
     04/02/2020   269    MOTION for New Trial as to liability under Fed. R. Civ. P. 59 and Judgment
                         as a matter of law as to Damages under Fed. R. Civ. P. 50(b) by iControl
                         Systems, USA, LLC. (Attachments: # 1 Exhibit A)(Sbar, Jonathan) (Entered:
                         04/02/2020)
     04/02/2020          Sealed Document S−271. (BES) (Entered: 04/07/2020)

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     04/06/2020   270       ORDER denying without prejudice 257 Plaintiff's Motion to Seal
                            Pursuant to Court Order; denying without prejudice 261 Defendant's
                            Unopposed Motion to Seal Pursuant to Court Order; denying without
                            prejudice 266 Plaintiff's Unopposed Motion to Seal Pursuant to Court
                            Order. Signed by Magistrate Judge Sean P. Flynn on 4/6/2020. (CKR)
                            (Entered: 04/06/2020)
     04/07/2020   272       NOTICE of compliance re 263 Order on Motion to Appear Pro Hac Vice by
                            iControl Systems, USA, LLC (Bucholtz, Jeffrey) (Entered: 04/07/2020)
     04/07/2020   273       NOTICE of compliance re 263 Order on Motion to Appear Pro Hac Vice by
                            iControl Systems, USA, LLC (Mezzina, Paul) (Entered: 04/07/2020)
     04/07/2020   274       NOTICE by Financial Information Technologies, LLC re 256 MOTION for
                            Attorney Fees (Attachments: # 1 Exhibit 1)(Molloy, Catherine) (Entered:
                            04/07/2020)
     04/08/2020   275       Amended MOTION to Seal by iControl Systems, USA, LLC. (Attachments: #
                            1 Exhibit A)(Sbar, Jonathan) Motions referred to Magistrate Judge Sean P.
                            Flynn. (Entered: 04/08/2020)
     04/13/2020   276       RESPONSE to Motion re 260 APPLICATION for Stay of Execution Pending
                            Disposition of Post Trial Motions filed by Financial Information
                            Technologies, LLC. (McCrea, Richard) (Entered: 04/13/2020)
     04/16/2020   277       RESPONSE to Motion re 269 MOTION for New Trial as to liability under
                            Fed. R. Civ. P. 59 and Judgment as a matter of law as to Damages under Fed.
                            R. Civ. P. 50(b) filed by Financial Information Technologies, LLC.
                            (Attachments: # 1 Exhibit A)(McCrea, Richard) (Entered: 04/16/2020)
     04/29/2020   278       ORDER granting 275 Defendant's Amended and Unopposed Motion to
                            Seal Pursuant to Local Rule 1.09(a). Signed by Magistrate Judge Sean P.
                            Flynn on 4/29/2020. (CKR) (Entered: 04/29/2020)
     08/10/2020   279   29 ORDER denying without prejudice 249−−motion for a permanent
                           injunction; denying as moot 260−−application for a stay of execution;
                           denying 269−−motion for a new trial; referring to Magistrate Judge Sean
                           P. Flynn for a report and recommendation Docs. 255 and 256−−motions
                           for an attorney's fee and Docs. 264 and 265−−objections. Signed by Judge
                           Steven D. Merryday on 8/10/2020. (BK) (Entered: 08/10/2020)
     08/20/2020   280       MOTION for Extension of Time to File Motion for Permanent Injunction by
                            Financial Information Technologies, LLC. (Molloy, Catherine) (Entered:
                            08/20/2020)
     08/21/2020   281       RESPONSE in Opposition re 280 MOTION for Extension of Time to File
                            Motion for Permanent Injunction filed by iControl Systems, USA, LLC.
                            (Bucholtz, Jeffrey) (Entered: 08/21/2020)
     08/21/2020   282       STRICKEN. See Doc. 283. NOTICE by Financial Information Technologies,
                            LLC Renewed Motion for Permanent Injunction (Attachments: # 1 Exhibit
                            Renewed Motion for Permanent Injunction)(Molloy, Catherine) Modified on
                            8/25/2020 (BK) (Entered: 08/21/2020)
     08/25/2020   283       ORDER striking 282−−notice; granting 280−−motion for an extension of
                            time; extending through 8/26/2020 the time within which the plaintiff


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                            must move for a permanent injunction. Signed by Judge Steven D.
                            Merryday on 8/25/2020. (BK) (Entered: 08/25/2020)
     08/26/2020   284       MOTION for Permanent Injunction by Financial Information Technologies,
                            LLC. (Attachments: # 1 Exhibit A − Permanent Injunction, # 2 Exhibit B −
                            Declaration of Catherine H. Molloy, # 3 Exhibit C − Declaration of Rodolfo
                            Leal)(Molloy, Catherine) (Entered: 08/26/2020)
     09/04/2020   285       RESPONSE in Opposition re 284 MOTION for Permanent Injunction filed by
                            iControl Systems, USA, LLC. (Bucholtz, Jeffrey) (Entered: 09/04/2020)
     09/04/2020   286       APPLICATION for Stay of Execution [Expedited] by iControl Systems, USA,
                            LLC. (Bucholtz, Jeffrey) (Entered: 09/04/2020)
     09/04/2020   287   33 NOTICE OF APPEAL as to 279 Order on Motion for Permanent
                           InjunctionOrder on Application for Stay of ExecutionOrder on Motion for
                           New Trial, 251 Judgment by iControl Systems, USA, LLC. Filing fee $ 505,
                           receipt number 113A−17274048. (Bucholtz, Jeffrey) (Entered: 09/04/2020)




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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  FINANCIAL INFORMATION
  TECHNOLOGIES, LLC,

                       Plaintiff,

  v.                                                          Case No: 8:17-cv-190-T-23SPF

  ICONTROL SYSTEMS, USA, LLC,

                   Defendant.
  ___________________________________

                            JUDGMENT IN A CIVIL CASE

  Decision by Court.   This action came before the Court and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED

        Judgment entered (1) on Count II for Financial Information Technologies, LLC and against

        iControl Systems, USA, LLC for $5,700,000.00, comprising $2,700,000.00 in actual

        damages and $3,000,000.00 in exemplary damages, (2) on Counts III, VI, VII, and VIII for

        iControl Systems, USA, LLC and against Financial Information Technologies, LLC, and

        (3) in accord with the parties' stipulation announced on the first day of trial, dismissing

        Counts I, IV, and V, for which sum let execution issue.

                                             ELIZABETH M. WARREN,
                                             CLERK

                                             By: s/DG, Deputy Clerk

        Date: March 5, 2020

        Copies to:

        Counsel of Record




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                         CIVIL APPEALS JURISDICTION CHECKLIST

1.     Appealable Orders: Courts of Appeals have jurisdiction conferred and strictly limited by statute:

       (a)       Appeals from final orders pursuant to 28 U.S.C. Section 1291: Only final orders and judgments of district courts, or final orders
                 of bankruptcy courts which have been appealed to and fully resolved by a district court under 28 U.S.C. Section 158, generally are
                 appealable. A final decision is one that “ends the litigation on the merits and leaves nothing for the court to do but execute the
                 judgment.” Pitney Bowes, Inc. V. Mestre, 701 F.2d 1365, 1368 (11th Cir. 1983). A magistrate judge’s report and recommendation
                 is not final and appealable until judgment thereon is entered by a district court judge. 28 U.S.C. Section 636(c).

       (b)       In cases involving multiple parties or multiple claims, a judgment as to fewer than all parties or all claims is not a final,
                 appealable decision unless the district court has certified the judgment for immediate review under Fed.R.Civ.P. 54(b), Williams
                 v. Bishop, 732 F.2d 885, 885-86 (11th Cir. 1984). A judgment which resolves all issues except matters, such as attorneys’ fees and
                 costs, that are collateral to the merits, is immediately appealable. Budinich v. Becton Dickinson & Co., 486 U.S. 196, 201, 108 S.
                 Ct. 1717, 1721-22, 100 L.Ed.2d 178 (1988); LaChance v. Duffy’s Draft House, Inc., 146 F.3d 832, 837 (11th Cir. 1998).

       (c)       Appeals pursuant to 28 U.S.C. Section 1292(a): Appeals are permitted from orders “granting, continuing, modifying, refusing
                 or dissolving injunctions or refusing to dissolve or modify injunctions...” and from “[i]nterlocutory decrees...determining the rights
                 and liabilities of parties to admiralty cases in which appeals from final decrees are allowed.” Interlocutory appeals from orders
                 denying temporary restraining orders are not permitted.

       (d)       Appeals pursuant to 28 U.S.C. Section 1292(b) and Fed.R.App.P.5: The certification specified in 28 U.S.C. Section 1292(b)
                 must be obtained before a petition for permission to appeal is filed in the Court of Appeals. The district court’s denial of a motion
                 for certification is not itself appealable.

       (e)       Appeals pursuant to judicially created exceptions to the finality rule: Limited exceptions are discussed in cases including, but
                 not limited to: Cohen V. Beneficial Indus. Loan Corp., 337 U.S. 541,546,69 S.Ct. 1221, 1225-26, 93 L.Ed. 1528 (1949); Atlantic
                 Fed. Sav. & Loan Ass’n v. Blythe Eastman Paine Webber, Inc., 890 F. 2d 371, 376 (11th Cir. 1989); Gillespie v. United States
                 Steel Corp., 379 U.S. 148, 157, 85 S. Ct. 308, 312, 13 L.Ed.2d 199 (1964).

2.     Time for Filing: The timely filing of a notice of appeal is mandatory and jurisdictional. Rinaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir.
       2001). In civil cases, Fed.R.App.P.4(a) and (c) set the following time limits:

       (a)       Fed.R.App.P. 4(a)(1): A notice of appeal in compliance with the requirements set forth in Fed.R.App.P. 3 must be filed in the
                 district court within 30 days after the entry of the order or judgment appealed from. However, if the United States or an officer or
                 agency thereof is a party, the notice of appeal must be filed in the district court within 60 days after such entry. THE NOTICE
                 MUST BE RECEIVED AND FILED IN THE DISTRICT COURT NO LATER THAN THE LAST DAY OF THE APPEAL
                 PERIOD - no additional days are provided for mailing. Special filing provisions for inmates are discussed below.

       (b)       Fed.R.App.P. 4(a)(3): “If one party timely files a notice of appeal, any other party may file a notice of appeal within 14 days after
                 the date when the first notice was filed, or within the time otherwise prescribed by this Rule 4(a), whichever period ends later.”

       (c)       Fed.R.App.P.4(a)(4): If any party makes a timely motion in the district court under the Federal Rules of Civil Procedure of a type
                 specified in this rule, the time for appeal for all parties runs from the date of entry of the order disposing of the last such timely
                 filed motion.

       (d)       Fed.R.App.P.4(a)(5) and 4(a)(6): Under certain limited circumstances, the district court may extend the time to file a notice of
                 appeal. Under Rule 4(a)(5), the time may be extended if a motion for an extension is filed within 30 days after expiration of the
                 time otherwise provided to file a notice of appeal, upon a showing of excusable neglect or good cause. Under Rule 4(a)(6), the
                 time may be extended if the district court finds upon motion that a party did not timely receive notice of the entry of the judgment
                 or order, and that no party would be prejudiced by an extension.

       (e)       Fed.R.App.P.4(c): If an inmate confined to an institution files a notice of appeal in either a civil case or a criminal case, the notice
                 of appeal is timely if it is deposited in the institution’s internal mail system on or before the last day for filing. Timely filing may
                 be shown by a declaration in compliance with 28 U.S.C. Section 1746 or a notarized statement, either of which must set forth the
                 date of deposit and state that first-class postage has been prepaid.

3.     Format of the notice of appeal: Form 1, Appendix of Forms to the Federal Rules of Appellate Procedure, is a suitable format. See also
       Fed.R.App.P. 3(c). A pro se notice of appeal must be signed by the appellant.

4.     Effect of a notice of appeal: A district court loses jurisdiction (authority) to act after the filing of a timely notice of appeal, except for actions
       in aid of appellate jurisdiction or to rule on a timely motion of the type specified in Fed.R.App.P. 4(a)(4).




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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



      FINANCIAL INFORMATION
      TECHNOLOGIES LLC,

            Plaintiff,

      v.                                                CASE NO. 8:17-cv-190-T-23SPF

      ICONTROL SYSTEMS, USA, LLC,

            Defendant.
      __________________________________/


                                             ORDER

            After trial of Fintech’s claim under the Florida Uniform Trade Secrets Act,

      the jury returned a verdict (Doc. 245) finding that iControl willfully and maliciously

      misappropriated Fintech’s trade secrets. iControl moves (Doc. 269) for a new trial

      on liability and for judgment as a matter of law on damages. Fintech opposes

      (Doc. 277) and moves (Doc. 249) for a permanent injunction, which iControl

      opposes (Doc. 252).

      I.    iControl’s motion for a new trial and for judgment as a matter of law

            A.     iControl’s motion for a new trial on liability

            The jury found that “Fintech prove[d] by a preponderance of the evidence that

      iControl misappropriated Fintech’s trade secrets[.]” (Doc. 245 at 1) Moving for a

      new trial on liability, iControl argues that Fintech’s software features “were readily




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      apparent to customers” and that Fintech failed to identify the trade secrets “with

      reasonable particularity.” But Fintech (1) presented evidence showing that iControl

      hired Fintech’s former software engineer and rapidly developed a competing suite of

      software features that perform substantially the same function as Fintech’s software

      features, (2) presented both direct and circumstantial evidence supporting the

      inference that Fintech’s former software engineer divulged the methods by which

      Fintech developed the software features, and (3) presented expert testimony

      identifying with reasonable particularity the features misappropriated by Fintech’s

      former software engineers. A reasonable juror could find that iControl

      misappropriated Fintech’s trade secrets.

            Also, the jury’s verdict finds “by a preponderance of the evidence that

      iControl willfully and maliciously misappropriated Fintech’s trade secrets” and

      awards $3.0 million in exemplary damages. (Doc. 245 at 2) iControl argues that

      the evidence at trial cannot “meet the test of egregiousness necessary to support an

      award of exemplary damages.” However, the jury could have reasonably inferred

      from the trial evidence that iControl schemed to hire Fintech’s former software

      engineer to misappropriate Fintech’s software features, attempted to conceal the

      former software engineer’s development on behalf of iControl, and intended to use

      the misappropriated software to cause Fintech’s customers to switch from Fintech to

      iControl. From the trial evidence, a reasonable juror could infer both willfulness and

      malice.



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             B.     iControl’s motion for judgment as a matter of law on damages

             The jury found that Fintech proved by a preponderance of the evidence that

      Fintech suffered $2.7 million in actual damages resulting from Fintech’s clients

      switching to iControl. Moving for judgment as a matter of law on damages, iControl

      argues that Fintech relied on evidence of lost revenue only but failed to demonstrate

      evidence of lost profits, that is, lost revenue minus costs. But at trial Fintech

      presented evidence supporting a finding both that Fintech’s fixed-cost savings were

      trivial due to the relatively few clients lost to iControl (eighty three out of thirty

      thousand) and that Fintech’s marginal costs per lost client were between zero and

      three percent of revenues. And the jury’s verdict permits the inference that the jury

      accounted for fixed and marginal costs because the jury awarded actual damages

      less than the amount of lost revenue presented at trial. The evidence permits a

      reasonably jury’s finding damages in the amount awarded.

      II.    Fintech’s motion for a permanent injunction

             Rather than identifying the trade secrets for which Fintech demands an

      injunction, Fintech cites the jury verdict and moves (Doc. 249) for a permanent

      injunction prohibiting “iControl from doing business in the regulated commerce

      industry,” that is, prohibiting iControl’s competing with Fintech. However, as

      iControl persuasively demonstrates in opposition to request for a permanent

      injunction, the Florida Uniform Trade Secrets Act authorizes the injunction of

      specific, identifiable trade secrets but authorizes no blanket restraint of competition.

      East v. Aqua Gaming, Inc., 805 So. 2d 932, 935 (Fla. 2d DCA 2001); Norton v. Am.

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      LED Tech., Inc., 245 So. 3d 968, 969 (Fla. 1st DCA 2018) (reversing “the portion of

      the order enjoining [defendant] from competing in the industry, as UTSA does not

      authorize such relief.”) The motion for a permanent injunction (Doc. 249) warrants

      denial without prejudice to Fintech’s renewing the motion and identifying with

      reasonable particularity the specific trade secrets for which Fintech requests an

      injunction.

                                         CONCLUSION

            The motion (Doc. 269) for a new trial and for judgment as a matter of law

      is DENIED. The motion (Doc. 249) for a permanent injunction is DENIED

      WITHOUT PREJUDICE. No later than AUGUST 17, 2020, Fintech may move

      for a permanent injunction, which motion must identify with reasonable specificity

      the trade secrets for which Fintech demands an injunction. The motion (Doc. 260)

      for a stay of execution is DENIED AS MOOT. The motions (Docs. 255, 256) for an

      attorney’s fee and the resolution of the objections (Docs. 264, 265) to each party’s

      proposed costs are REFERRED to Magistrate Judge Sean P. Flynn for a report and

      recommendation.

            ORDERED in Tampa, Florida, on August 10, 2020.




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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


   FINANCIAL INFORMATION
   TECHNOLOGIES, LLC,

                            Plaintiff,
                                                              Case No.: 8:17-cv-00190-SDM-SPF
          v.

   ICONTROL SYSTEMS, USA, LLC,

                        Defendant.
   ___________________________________________/

                             iCONTROL’S NOTICE OF APPEAL

         Defendant iControl Systems, USA, LLC (“iControl”) hereby appeals to the United States

  Court of Appeals for the Eleventh Circuit from the judgment entered on March 5, 2020 (Doc. 251),

  and from all interlocutory or other orders and rulings subsidiary or relating thereto, including

  without limitation the order entered on August 10, 2020 (Doc. 279).




                                                 /s/ Jeffrey S. Bucholtz
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                                         Attorneys for Defendant




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                                  CERTIFICATE OF SERVICE

         I certify that on September 4, 2020, I electronically filed the foregoing via the Court’s

  CM/ECF filing system, which will send a notice of filing to all counsel of record.

                                               /s/ Jeffrey S. Bucholtz
                                               Jeffrey S. Bucholtz (Pro Hac Vice)




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